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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

         Plaintiff,

v.                                            Case No. 21-cr-40/TNM

TRISTAN CHANDLER STEVENS,

       Defendant.
______________________________/

                              NOTICE OF APPEAL

      Notice is hereby given that TRISTAN CHANDLER STEVENS, above named,

hereby appeals to the United States Court of Appeals for the Eleventh Circuit from the

Judgment and Sentence entered in this cause on the 16th day of March 2023.

      DATED this 29th day of March 2023.

                                        /s/ Lauren Cobb________________
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